Case 15-13891-abl   Doc 124-1   Entered 03/04/16 15:20:23   Page 1 of 3




             Exhibit “A”
 Case
Case   15-13891-abl Doc
     15-13891-abl    Doc  124-1Entered
                        81-1      Entered 03/04/16
                                       12/01/15    15:20:23Page
                                                19:51:28     Page
                                                                1032of
                                                                     of104
                                                                        3
 Case
Case   15-13891-abl Doc
     15-13891-abl    Doc  124-1Entered
                        81-1      Entered 03/04/16
                                       12/01/15    15:20:23Page
                                                19:51:28     Page
                                                                1043of
                                                                     of104
                                                                        3
